                                                                                                                  Case 3:16-cv-05193-RS Document 32 Filed 06/19/17 Page 1 of 2


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                                               810




                                                                                                                OSCAR CANO
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                                                                  OAKLAND, CALIFORNIA




                                                                                                           14                                 UNITED STATES DISTRICT COURT

                                                                                                           15                               NORTHERN DISTRICT OF CALIFORNIA

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                                                                                                 FAX




                                                                                                                OSCAR CANO, an individual,                            Case No. 16-cv-05193-RS
                                             1300




                                                                                                           17                                                          ORDER
                                                                                                                               Plaintiff,                             STIPULATION OF DISMISSAL
                                                                                                           18
                                                                                                                       vs.                                            Ctrm: 3, 17th Floor
                                                                                                           19                                                         Judge: Hon. Richard Seeborg
                                                                                                                HOME DEPOT U.S.A., INC. and DOES 1
                                                                                                           20   through 50, inclusive,                                Action Filed: March 3, 2016

                                                                                                           21                  Defendants.

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                                                                                                                   Case 3:16-cv-05193-RS Document 32 Filed 06/19/17 Page 2 of 2


                                                                                                            1           IT IS HEREBY STIPULATED by and between Plaintiff Oscar Cano and Defendant
                                                                                                            2   Home Depot U.S.A., Inc. through their designated counsel of record that the above-captioned
                                                                                                            3   action be and hereby is dismissed with prejudice pursuant to Federal Rule of Civil
                                                                                                            4   Procedure 41(a)(1) with each party bearing his/its own attorney’s fees and costs.
                                                                                                            5

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                                                                                                            7   DATED: June 15, 2017                                    LAW OFFICE OF SETH E. TILLMON
                                                                                                            8
                                                                                                                                                                         /s/ Seth E. Tillmon
                                                                                                            9                                                           SETH E. TILLMON
                                                                                                                                                                        Attorney for Plaintiff
                                                                                                           10                                                           OSCAR CANO
                                                                                                           11
LAFAYETTE & KUMAGAI LLP




                                                                                                           12   DATED: June 15, 2017                                    LAFAYETTE & KUMAGAI LLP
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                                             94612




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                                                                                                           14                                                           BRIAN H. CHUN
                                                                                                                                                                        Attorneys for Defendant
                                                                                                           15                                                           HOME DEPOT U.S.A, INC.
                                                                                                           16
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                                                                                                           17                                          SIGNATURE ATTESTATION
                                                                                                           18           I hereby attest that I have obtained the concurrence of Seth E. Tillmon, counsel for
                                                                                                           19   Plaintiff, for the filing of this stipulation.
                                                                                                           20
                                                                                                                                         ISTRIC
                                                                                                                                    TES D      TC                        /s/ Brian H. Chun
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                                                                                                                                  TA                                    BRIAN H. CHUN
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